Case 5:22-cv-04486-BLF Document 166-4 Filed 11/22/22 Page 1 of 22




            EXHIBIT 3
          Case 5:22-cv-04486-BLF Document 166-4 Filed 11/22/22 Page 2 of 22




                                    UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF NEW YORK




PUBLIC INVESTMENT FUND OF THE                                              Misc. Case No.
KINGDOM OF SAUDI ARABIA,

                     Petitioner,                                           Underlying Case Pending in the United States
                                                                           District Court for the Northern District of
          v.                                                               California:
PGA TOUR, INC.
                                                                           Case No. 5:22-cv-04486-BLF
                     Respondent.



DECLARATION OF HIS EXCELLENCY YASIR O. AL-RUMAYYAN IN SUPPORT OF
                   MOTION TO QUASH SUBPOENA

          I, Yasir O. Al-Rumayyan, declare under penalty of perjury of the laws of the United

States pursuant to 28 U.S.C. § 1746 as follows:

          1.               I am the Governor of the Public Investment Fund of the Kingdom of Saudi

                                                        I respectfully submit this Declaration in Support

                                                                                      Based on my position as Governor

of PIF, I have knowledge of the facts set forth in this Declaration. I am fluent in Arabic and

English and have elected to prepare this declaration in English.

                                        PIF Law and Governance

          2.               The Public Investment Fund is the sovereign wealth fund of the Kingdom

of Saudi Arabia. It was established in 1971 by Royal Decree No. M/24 of the Kingdom of Saudi

Arabia. PIF is regulated by the Public Investment Fund Law of the Kingdom of Saudi Arabia, a

true and correct copy of which is attached as Exhibit A.




                                                  Classification: Public




10710-00001/13709926.1                         Page 1 of 7
          Case 5:22-cv-04486-BLF Document 166-4 Filed 11/22/22 Page 3 of 22




          3.             PIF is a separate legal entity from the Kingdom of Saudi Arabia. Under



                                               Ex. A at 1. PIF is an integral part of the Kingdom

of Saudi Arabia. PIF is not a citizen of any other country.

          4.             PIF has a Governor who holds the rank of a Minister in the Kingdom of

Saudi Arabia. Id. at 5. PIF is governed by a Board of Directors. Day-to-day management is



evaluating (and, in certain cases based on the Delegation of Authority in place, approving)

investment or non-investment proposals before submitting them to the Board of Directors for

decision.

          5.             The                                                             His Royal Highness

Mohammad bin Salman Al-Saud (as Chairman); two Ministers of State; the Minister of

Commerce; the Minister of Finance; the Minister of Tourism; the Minister of Investment; the

Governor, HE Yasir Al-Rumayyan; and an Advisor at the Royal Court. All Board members are

appointed by royal order under Article 5 of the Public Investment Fund Law.

          6.             Under Article 6 of the Public Investment Fund Law, the Board and its

Chairman

objectives are achieved and its powers     as stipulated in this Law             are exercised.   Id. at 3. The

Board also determines the G                                               Id. at 5. To that end, the Board has




of companies and other entities that the Fund owns or holds shares therein, and determining their




                                                 Classification: Public




10710-00001/13709926.1                       Page 2 of 7
          Case 5:22-cv-04486-BLF Document 166-4 Filed 11/22/22 Page 4 of 22




renumeration, as well as their rights and duties ;                                                      gn

                         Id. at 3-4.

          7.               PIF is not created under the laws of the United States or any third country.

As explained above, PIF was created by a Royal Decree in the Kingdom of Saudi Arabia and is

presently regulated by the Public Investment Fund Law.

          8.               As an integral part of the Kingdom of Saudi Arabia, PIF is subject to a

number of restrictions on disclosing information to outside parties. I understand that High Order

No. (M/1676) dated 24/12/1416H (corresponding to 12/05/1996) of the Kingdom of Saudi

Arabia prohibits disclosing official documents to any party outside the workplace and provides

that whoever violates such order will be subject to discipline and imprisonment.

          9.               Similarly, I understand that the Penal Law on Dissemination and

Disclosure of Classified Information and Documents of the Kingdom of Saudi Arabia prohibits

disclosing classified information and documents. I understand that Article 2 of the Penal Law on

Dissemination and Disclosure of Classified Information and Documents provides that             a] public

employee or a person of a similar capacity shall not disseminate or disclose classified

information or documents which he obtains or is privy to by virtue of office even after the end of

his service if such dissemination or disclosure remains restricted           I understand that violating

                                            by imprisonment for a period not exceeding 20 years or a

fine not exceeding one million riyals        I understand that classified information is not defined.

          10.              The Public Investment Fund Law itself prohibits disclosing confidential



confidential information not benefit from any information they become privy to in the course of




                                                    Classification: Public




10710-00001/13709926.1                          Page 3 of 7
          Case 5:22-cv-04486-BLF Document 166-4 Filed 11/22/22 Page 5 of 22




carrying out their duties, even after their relationship with the Fund ends.         Article 17 does not

list any exceptions that would allow PIF to comply with a foreign subpoena.

          11.            I understand that producing documents or providing testimony in response

to the Subpoena could violate the laws discussed above, including at least the Public Investment

Fund Law and High Order No (M/1676). I understand that disclosing this information to outside

parties could subject PIF employees to penalties under the laws of the Kingdom of Saudi Arabia,

including imprisonment.

                                        Activities and Investments

          12.            PIF was established to provide financial support for projects of strategic

significance to the national economy in Saudi Arabia. Under Article 3 of the Public Investment

Fund Law, PIF makes investments                                               public interest; promoting

economic development in the Kingdom and diversifying its sources of income; and maintaining

                                       Ex. A at 3.

          13.            I understand that LIV Golf, Inc, a US entity, is one plaintiff in the

underlying antitrust litigation against the PGA Tour. PIF does not own shares in LIV Golf, Inc.

PIF does not have day-to-day control over LIV Golf Inc., in the United States or otherwise.

          14.            PIF owns shares in LIV Golf Investments Ltd., a Jersey entity. Jersey is a

self-governing dependency of the United Kingdom. LIV Golf Investments Ltd. is a separate

entity from PIF. LIV Golf Investments Ltd. is adequately capitalized, pays its own debts, and

does not commingle its prop                                                                         Ltd.

observe corporate formalities. Although PIF provides high level oversight for LIV Golf, Inc.

through LIV Golf Investments Ltd., it does not exercise day-to-day control over its decisions or




                                                     Classification: Public




10710-00001/13709926.1                        Page 4 of 7
          Case 5:22-cv-04486-BLF Document 166-4 Filed 11/22/22 Page 6 of 22




operations. LIV Golf Investments Ltd. owns LIV Golf Holdings Ltd., another Jersey entity,

which owns LIV Golf, Inc.

          15.            PIF decided to invest in LIV Golf Investments Ltd. in Jersey (the UK

dependency), not in the United States. All Board meetings of LIV Golf Investments Ltd. are

chaired in Jersey, with the option for members to connect remotely. PIF employees responsible

for managing and monitoring investments in LIV Golf Investments Ltd., including those PIF

employees that represent PIF on the Board and Board Committees of LIV Golf Investments Ltd.

and LIV Golf Holdings Ltd., are all based in Riyadh, Saudi Arabia. PIF employees have

attended meetings related to LIV Golf, Inc. in the United States to observe and show support, but

they did not negotiate contracts for, vote on decisions of, or exercise control over LIV Golf, Inc.

in its daily operations. I am not aware of any transaction that PIF has purposefully undertaken or

consummated related to LIV Golf, Inc. in the United States, including in New York or

California.

          16.            In addition, PIF has previously retained the services of M. Klein &

Company to provide financial and strategy advice for the investment in LIV Golf Investments

Ltd. Those services were not provided with respect to any activities by PIF in the United States.

To the extent PIF has also retained the services of other New York-based firms, those services

were not provided with respect to any activities by PIF in the United States.

          17.            PIF does not own or control Golf Saudi or the Saudi Golf Federation.

Because PIF did not invest in the Premier Golf League, PIF employees have not negotiated

contracts for, voted on decisions of, or exercised control over the Premier Golf League.




                                                Classification: Public




10710-00001/13709926.1                      Page 5 of 7
          Case 5:22-cv-04486-BLF Document 166-4 Filed 11/22/22 Page 7 of 22




          18.            PIF is headquartered and has its principal place of business in Riyadh and

has historically operated exclusively out of the Kingdom of Saudi Arabia. In February 2022, PIF

subsidiaries opened offices in London, New York City, and Hong Kong. Prior to that time, PIF

and its affiliates had no office in the United States.

          19.            The New York office is owned and run by a subsidiary of PIF, USSA

International LLC.               . USSA is a distinct separate legal entity with full administrative

autonomy, as well as independence in carrying out its operations and activities. PIF is not

involved in carrying out any of those activities.



operations, being of a general nature and applicability and not of an executive, specific

prescriptive nature.

          20.            PIF has no presence or offices in the United States and no employees, bank

accounts, or real estate of its own in the country. PIF employees may from time to time visit

New York and other locations in the U.S., but such contacts with the states are coincidental. PIF

also has contacts with U.S.-based companies, including those based in New York or California,

but the presence of those companies in the U.S. is coincidental.           Moreover, PIF has not

purposefully directed any action to the United States, including New York, related to LIV Golf,

Inc., the PGA Tour, or the underlying lawsuit. As stated above,            activities related to LIV

Golf Investments Ltd. have generally taken place outside of the United States.

          21.            PIF has no operations in California. Although PIF employees may visit

California, such visits are sporadic and not systematic. PIF has no offices in California and does

not maintain a presence there.




                                                  Classification: Public




10710-00001/13709926.1                        Page 6 of 7
          Case 5:22-cv-04486-BLF Document 166-4 Filed 11/22/22 Page 8 of 22




          22.            No PIF officer, director, or employee who has knowledge of the subject

matter sought in the deposition topics in the subpoena resides, is employed, or regularly transacts

business in person in New York City, or within 100-miles of New York City. Likewise, no PIF

officer, director, or employee who has knowledge of the subject matter sought in the deposition

topics in the subpoena resides, is employed, or regularly transacts business in person in

California, or within 100-miles of any location in California.               employees based in its

New York office do not govern, oversee, or interact with LIV Golf, Inc.. Rather, the PIF

employees responsible for the LIV Golf investment are based in Riyadh, Saudi Arabia. Further,

the electronic documents and data possessed by PIF related to LIV Golf, Inc.

servers in Riyadh.

          I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

                       London on __________.
          Executed in __________ Nov. 10, 2022


                                               The Public Investment Fund

                                               By:    __________________________________
                                               Name: His Excellency Mr. Yasir O. Al-Rumayyan
                                               Title: Governor




                                                  Classification: Public




10710-00001/13709926.1                        Page 7 of 7
Case 5:22-cv-04486-BLF Document 166-4 Filed 11/22/22 Page 9 of 22




           EXHIBIT A
Case 5:22-cv-04486-BLF Document 166-4 Filed 11/22/22 Page 10 of 22




            Public Investment Fund

                    Law
            Case 5:22-cv-04486-BLF Document 166-4 Filed 11/22/22 Page 11 of 22

                                        Chapter 1
                                        'H´QLWLRQV

Article 1
In this Law, the following terms and phrases shall have the meanings assigned thereto, unless
the context requires otherwise:
Fund: Public Investment Fund.
Law: Public Investment Fund Law.
Board: The Fund’s Board of Directors.
Chairman: The Board’s Chairman.
Governor: The Fund’s Governor.
Bylaws and Policies: The set of regulations, instructions, and procedures issued by the Board
WRUHJXODWHWKH)XQG¬VLQWHUQDODƲDLUV



Article 2
7KH)XQGVKDOOUHSRUWWRWKH&RXQFLORI(FRQRPLFDQG'HYHORSPHQW$ƲDLUV,WVKDOOKDYHD
SXEOLFOHJDOSHUVRQDOLW\DVZHOODV´QDQFLDODQGDGPLQLVWUDWLYHLQGHSHQGHQFH7KH)XQG V
headquarters shall be in the city of Riyadh; it may, as needed, establish branches within the
Kingdom or abroad.
            Case 5:22-cv-04486-BLF Document 166-4 Filed 11/22/22 Page 12 of 22



                                       Chapter 2
                                  3XUSRVHVDQG3RZHUV

Article 3
The Fund aims to generate returns by investing its funds, whether in cash or in-kind, in accord-
ance with the highest standards, for the purpose of serving public interest; promoting econom-
ic development in the Kingdom and diversifying its sources of income; and maintaining the
interest of future generations.

Article 4
The Fund shall have the powers to achieve its objectives and carry out its functions and
duties under this Law, including the following:

   1. Investing within the Kingdom or abroad, and acquiring and disposing of assets, including
      real property, in-kind rights, stakes, securities, foreign currencies, commodities, and
      DQ\NLQGRI´QDQFLDOGHULYDWLYHV
   2. Incorporating companies and other special-purpose establishments within the Kingdom
      or abroad and entering therein as a sole partner or with a third party.
   3.([WHQGLQJORDQVDQGRWKHUIRUPVRI´QDQFLQJ
   4. Taking out loans and other forms of debt, including the issuance of sukuk and bonds.
   5. Issuing securities for companies and other special-purpose establishments that the
      Fund owns or holds shares therein.
   6. Concluding agreements and memoranda of understanding relating to its activities
      with relevant agencies in other countries and international organizations.
   7. Carrying out any other activity or task approved by the Board to achieve the Fund’s
      objectives.
            Case 5:22-cv-04486-BLF Document 166-4 Filed 11/22/22 Page 13 of 22



                                         Chapter 3
                                         7KH%RDUG

Article 5
The Fund shall have a board of directors to be chaired by the President of the Council of
(FRQRPLFDQG'HYHORSPHQW$ƲDLUV,WVPHPEHUVKLSVKDOOLQFOXGHWKH*RYHUQRUDVZHOODVD
minimum of four experts and specialists, provided they include representatives from relevant
DJHQFLHVWKH\VKDOOEHDSSRLQWHGSXUVXDQWWRDUR\DORUGHUIRUDUHQHZDEOHWHUPRI´YH\HDUV


Article 6
7KH%RDUGVKDOOVXSHUYLVHWKH)XQGLQFOXGLQJLWVPDQDJHPHQWDQGDƲDLUVDQGVKDOOHQVXUHLWV
objectives are achieved and its powers—as stipulated in this Law—are exercised. To this
end, the Board shall have all necessary authorities and powers. It shall also approve and issue
WKH)XQG V%\ODZVDQG3ROLFLHVLQFOXGLQJWKHIROORZLQJ

   1. Setting investment strategies, policies, and procedures, including targeted returns;
         and the mechanism for deciding on an investment, monitoring its performance, and
         exiting therefrom.
   2.6HWWLQJDSROLF\IRUGLVWULEXWLRQRI)XQGSUR´WV
   3. Setting risk management procedures and systems.
   4. Determining the accounting standards and policies for drafting and auditing the
         )XQG¬V´QDQFLDOVWDWHPHQWVDQGGHWHUPLQLQJWKHEHJLQQLQJDQGHQGRIWKH´VFDO\HDU
   5.$SSURYLQJWKH)XQG VORDQVDQGRWKHUIRUPVRIGHEWLQFOXGLQJLVVXLQJVXNXNDQG
         bonds, in accordance with relevant rules.
   6. Setting rules for nominating and appointing the Fund’s representatives to the boards
         of directors of companies and other entities that the Fund owns or holds shares
         therein, and determining their remuneration, as well as their rights and duties.
   7. Setting policies and procedures for tax liability.
   8. Designating the persons authorized to sign on behalf of the Fund.
   9. $SSURYLQJWKHSURFHGXUHVUHJXODWLQJWKH)XQG VFRPPXQLFDWLRQZLWKWKHPHGLD
   10.$SSURYLQJWKH)XQG¬V´QDQFLDODQGDGPLQLVWUDWLYHUHJXODWLRQV
             Case 5:22-cv-04486-BLF Document 166-4 Filed 11/22/22 Page 14 of 22




   11. $SSURYLQJ WKH )XQG V RUJDQL]DWLRQDO VWUXFWXUH DQG WKH PDQQHU RI UHJXODWLQJ DQG
       distributing its functions and duties.
   12. Approving the Fund’s annual budget and annual report.

       The Board may, when necessary, form committees to carry out any of its duties and
       responsibilities. It may also delegate certain powers to the Governor or any of the
       )XQG¬VRƳFHUVLQDFFRUGDQFHZLWKWKH)XQG V%\ODZVDQG3ROLFLHV


Article 7
7KH%RDUGVKDOOVXEPLWWRWKH&RXQFLORI(FRQRPLFDQG'HYHORSPHQW$ƲDLUVWKH%\ODZVDQG
Policies that regulate matters referred to in Article 6 (1), (2), (3), (4), and (5) of this Law, as
well as the rules and procedures regulating its activities referred to in Article (8) of this Law,
or any amendments thereto, within a period not less than 15 days or more than 30 days
from the date set for their entry into force. The Council of Economic and Development
$ƲDLUVPD\ZLWKLQVXFKSHULRGGLUHFWWKH%RDUGWRPDNHDQ\DPHQGPHQWVWRWKH%\ODZV
and Policies, as it deems appropriate.


Article 8
The Board shall set the rules and procedures regulating its activities, including calling for and
holding meetings, and voting on decisions, whether at Board meetings or by circulation. In
any case, the Board shall meet at least once every 90 days.


Article 9
The Board shall appoint a secretary general who shall carry out the duties of the Board
secretariat and any other assigned duties. The Board shall determine his remuneration in
DFFRUGDQFHZLWKWKH)XQG V%\ODZVDQG3ROLFLHV
            Case 5:22-cv-04486-BLF Document 166-4 Filed 11/22/22 Page 15 of 22



                                        Chapter 4
                                        (PSOR\HHV
Article 10
7KH)XQGVKDOOKDYHD*RYHUQRUDWWKHUDQNRI0LQLVWHU,IWKH*RYHUQRU VSRVLWLRQEHFRPHV
vacant, the Board may assign another person to temporarily carry out his duties.


Article 11
7KH%RDUGVKDOOGHWHUPLQHWKH*RYHUQRU VSRZHUVUHVSRQVLELOLWLHVDQGGXWLHVLQFOXGLQJ

   1. Implementing Board decisions.
   2. Representing the Fund before third parties and judicial authorities;
   3.2YHUVHHLQJWKHGUDIWLQJRIWKH)XQG V%\ODZVDQG3ROLFLHVDVZHOODVWKH)XQG¬VDQQXDO
      budget and annual report, and any other documents required to be presented to the
      Board; and
   4.2YHUVHHLQJWKH)XQG¬VDGPLQLVWUDWLYHDQG´QDQFLDODƲDLUVDVZHOODVLWVHPSOR\HHVDQG
      ensuring that the Fund’s operations and activities are in compliance with its Bylaws
      and Policies.


Article 12
Subject to relevant Bylaws and Policies, the Governor may, if necessary, delegate some of
his powers to certain Fund employees or others.


Article 13
   1. Except for the Governor, Fund employees shall be subject to the Labor Law and the
      Social Insurance Law.
   2.([FHSWIRUFDVHVVSHFL´HGE\WKH)XQG V%\ODZVDQG3ROLFLHV)XQGHPSOR\HHVPD\
      not engage in any other profession or work, including holding any position or job
      in the public or private sectors.
               Case 5:22-cv-04486-BLF Document 166-4 Filed 11/22/22 Page 16 of 22



                                              Chapter 5
                                        3URIHVVLRQDO&RQGXFW
Article 14
(DFK%RDUGPHPEHUDQG)XQGHPSOR\HHVKDOOLQWKHPDQQHUVSHFL´HGLQWKH)XQG V%\ODZVDQG
Policies, disclose his personal investments and any changes thereto.


Article 15
   1.$Q\%RDUGPHPEHUZLWKDGLUHFWRULQGLUHFWSHUVRQDOLQWHUHVWRUEHQH´WLQDQ\PDWWHUSUHVHQWHG
      WR WKH %RDUG VKDOO GLVFORVH WKHUHWR WKH QDWXUH RI VXFK LQWHUHVW RU EHQH´W ,Q DQ\ FDVH VDLG
      member may not vote on the decision issued regarding such matter.
   2.$Q\)XQGHPSOR\HHZLWKDGLUHFWRULQGLUHFWSHUVRQDOLQWHUHVWRUEHQH´WLQDQ\PDWWHUSUHVHQWHG
      WRKLPLQWKHFRXUVHRIFDUU\LQJRXWKLVGXWLHVVKDOOLQWKHPDQQHUVSHFL´HGLQWKH)XQG V
      %\ODZVDQG3ROLFLHVGLVFORVHWKHQDWXUHRIWKDWLQWHUHVWRUEHQH´W


Article 16
Board members and Fund employees shall, in carrying out their duties,
act in good faith and exercise due diligence to achieve the Fund’s interests.


Article 17
%RDUGPHPEHUVDQG)XQGHPSOR\HHVVKDOOQRWGLVFORVHDQ\FRQ´GHQWLDOLQIRUPDWLRQQRUEHQH´W
from any information they become privy to in the course of carrying out their duties, even after
their relationship with the Fund ends.


Article 18
7KH)XQG V%\ODZVDQG3ROLFLHVVKDOOVSHFLI\WKHLQYHVWPHQWVDQGIXQGVWKDW%RDUGPHPEHUV
DQG)XQGHPSOR\HHVPD\LQYHVWLQIRUWKHLUSHUVRQDOEHQH´WSURYLGHGVXFKLQYHVWPHQW
GRHVQRWLQYROYHDQ\FRQµLFWRILQWHUHVWRULQDSSURSULDWHSUDFWLFH
            Case 5:22-cv-04486-BLF Document 166-4 Filed 11/22/22 Page 17 of 22




Article 19
6XEMHFWWRWKHSURYLVLRQVRIWKLV&KDSWHUWKH)XQG V%\ODZVDQG3ROLFLHVVKDOOGHWHUPLQHWKH
provisions governing the professional conduct of Board members and Fund employees to
ensure they comply with acceptable professional and ethical practices. Such provisions shall
determine the consequences of professional and ethical violations committed by any Board
member or Fund employee.
            Case 5:22-cv-04486-BLF Document 166-4 Filed 11/22/22 Page 18 of 22



                                     Chapter 6
                          )LQDQFLDO$ƲDLUVDQG2SHUDWLRQV

Article 20
   1. The Fund shall have an annual budget funded by its revenues.
   2. Fund revenues shall comprise:
      a) Returns on its assets and investments;
      b) State appropriations, cash and in-kind; and
      c) Borrowed funds.


Article 21
The Fund shall maintain records of all its transactions, operations, and investments, in
accordance with its Bylaws and Policies.


Article 22
7KH)XQG¬V´QDQFLDOVWDWHPHQWVVKDOOEHGUDIWHGDQGDXGLWHGLQDFFRUGDQFHZLWKDFFRXQWLQJ
standards and policies determined by the Board, and shall be audited by an external audi-
tor appointed by the Board.


Article 23
The competent monitoring authorities shall, upon conducting any audit of the Fund’s
RSHUDWLRQVDQGDFFRXQWVDGKHUHWRWKHSURYLVLRQVRIWKLV/DZDVZHOODVWKH)XQG V%\ODZV
and Policies.
            Case 5:22-cv-04486-BLF Document 166-4 Filed 11/22/22 Page 19 of 22



                                         Chapter 7
                                       $QQXDO5HSRUW

Article 24
7KH%RDUGVKDOOZLWKLQGD\VIURPWKHHQGRIWKH)XQG¬V´VFDO\HDUVXEPLWWRWKH&RXQFLO
RI(FRQRPLFDQG'HYHORSPHQW$ƲDLUVDGHWDLOHGUHSRUWRQWKH)XQG VRSHUDWLRQVDQGDFWLYLWLHV
The report shall, at a minimum, include:

   1. 7KH´QDODFFRXQWVRIWKHODVW´VFDO\HDU
   2. A detailed account of the Fund’s assets and investments and their performance during
      WKHODVW´VFDO\HDU
   3. 7KH)XQG¬VDXGLWHG´QDQFLDOVWDWHPHQWV
   4. An account of any compensations received by Board members; and
   5. $Q\RWKHULQIRUPDWLRQUHTXLUHGE\WKH&RXQFLORI(FRQRPLFDQG'HYHORSPHQW$ƲDLUV


Article 25
7KH&RXQFLORI(FRQRPLFDQG'HYHORSPHQW$ƲDLUVPD\XSRQUHYLHZLQJWKHUHSRUWUHIHUUHG
to in Article 24 of this Law, direct the Board to take any action it deems appropriate.


Article 26
The Board may fully or partially publish the report referred to in Article 24 of this Law, and
it may publish any other report or information on Fund operations and activities.
             Case 5:22-cv-04486-BLF Document 166-4 Filed 11/22/22 Page 20 of 22



                                           Chapter 8
                                        )LQDO3URYLVLRQV

Article 27
   1. The Fund may conclude contracts and agreements, within the Kingdom or abroad, in
      ODQJXDJHRWKHUWKDQ$UDELFLIWKH)XQG VLQWHUHVWVRGLFWDWHV
   2.&RQWUDFWVDQGDJUHHPHQWVFRQFOXGHGE\WKH)XQGVKDOODVVSHFL´HGLQWKH)XQG V%\ODZV
      and Policies, be subject to the laws in force in the Kingdom, unless it is in the interest of the
      Fund that they be subject to the jurisdiction of foreign courts or international arbitration.


Article 28
3URPXOJDWLRQRIWKLV/DZVKDOOQRWDƲHFWWKH)XQG VULJKWVDQGREOLJDWLRQVHVWDEOLVKHGSULRU
to its entry into force.


Article 29
Companies that the Fund incorporates or co-founds in the Kingdom shall be subject to the
&RPSDQLHV/DZ7KH%RDUGPD\SXUVXDQWWRDGHFLVLRQLVVXHGWKHUHE\LQFOXGHVSHFL´F
exemptions from the provisions of the Companies Law in the articles of incorporation and
articles of association of the companies in which the Fund owns more than 50% of its capi-
tal. The incorporation of such companies shall be approved pursuant to a decision by the
Ministry of Commerce and Investment, in accordance with the Companies Law.


Article 30
The Fund may not be dissolved or liquidated except by royal decree, and cases related to
dissolution or liquidation shall be heard by the competent judicial authority.
            Case 5:22-cv-04486-BLF Document 166-4 Filed 11/22/22 Page 21 of 22




Article 31
This Law shall supersede the Public Investment Fund Law promulgated by Royal Decree No.
M/24, dated 25/6/1391H.


Article 32
7KLV/DZVKDOOHQWHULQWRIRUFHIURPWKHGDWHRILWVSXEOLFDWLRQLQWKH2ƳFLDO*D]HWWH
Case 5:22-cv-04486-BLF Document 166-4 Filed 11/22/22 Page 22 of 22
